 2                         THIRD JUDICIAL DISTRICT AT
 3

 4
     C. WALTER EBELL,                           )
 5                                              )
                            Plaintiff,          )
 6
                                                )

 7   vs.                                        )
                                                )
 8   ZURICH AMERICAN INSURANCE,                 )
     COMPANY,                                   )
 9                                              )
                            Defendant.
     _____________________________ )
                                                )
                                                         Case No. 3AN-13-     1/d:J     CI

                                           COMPLAINT

           COMES     C.    Walter     Ebell,    through     counsel,    the   law    firm    of

     Dillon & Findley, P.C., and for his respective causes of action,

     alleges as follows:

                                               PARTIES
16

17         1.      Plaintiff C.        Walter Ebell is and has been during all

18   relevant times herein, a resident of Alaska.

19         2.      Defendant Zurich American Insurance Company ("Zurich")
20
     is a corporation formed in New York, with its principal place of
21
     business   in        Illinois.      Zurich     is    licensed to    offer      insurance
22
     products in Alaska.
23

24

25

26
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           -
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     --
 2            3.         Jurisdiction            in      this         Court      is      proper        under
 3
     AS 22.10.020.                Venue    is     proper       under AS        22. 10. 030     and Alaska
 4
     Civil Rule 3.
 5
                                            FACTUAL BACKGROUND
 6
              4.         On November 20,              2012,    C&C Technologies,           Inc.      ("C&C")
 7

 8
     filed         its    Complaint        in Alaska           Superior       Court    against       various

 9   defendants,              including Mr. Ebell,              Old Harbor Native Corporation

10    ("Old        Harbor") ,        and   Kodiak       Kenai     Cable       Company,     LLC      ("Kodiak
11
     Kenai") .
12
              5.         C&C filed its First Amended Complaint on December 21,
13
     2012      ("C&C          Lawsuit").         The     60-page       complaint       alleged       various
14
     claims         against          Mr. Ebell,         including        violations          of     Alaska's
15

     Unfair          Trade        Practices            Act,      "intentional/fraudulent"                and
16

17   negligent                misrepresentations,                "nondisclosure,"                 promissory

18   estoppel, and "promissory fraud."

19            6.         On January 17,          2013,        Bliss, Wilkens & Clayton               ("BWC")
20
     entered an appearance on behalf of Mr. Ebell.
21
             7.          On    January     23,        2013,    BWC,     on    behalf     of       Mr. Ebell,
22
     provided Zurich with a copy of the First Amended Complaint, and
23
     tendered defense and indemnity to Zurich,under Policy Number DOC
24

25
     5964912-03.               BWC    requested that            Zurich contact           BWC      "promptly"

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     C. Walter Ebell v. Zurich American Insurance Company
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 3
             8.         Zurich verbally accepted Mr. Ebell's tender of defense
 4
     on    February           13,    2013,    and    informed      BWC     that       it    intended    to
 5
     defend Mr. Ebel1                under    a    reservation     of      rights.          During that
 6
     same conversation,                Zurich requested that BWC provide it with a
 7

 8
     copy       of      the    original       complaint.         BWC       promptly         emailed    the

 9   complaint to Zurich and also confirmed to Zurich that Mr. Ebell

     had     elected          that    BWC    represent    him    in      the    C&C    Lawsuit      under

     AS 21. 8 9 . 2 0 0 .       On that       same day,        BWC mailed         Zurich its        first

     invoice,        representing fees and costs that Mr. Ebell incurred in

     connection with the defense of the C&C Lawsuit.

             9.         BWC    sent    its    second     invoice      to    Zurich         on March 11,

     2013,        via    email.         At    that     time,    Zurich         had    not     reimbursed
16

17   Mr. Ebell for the BWC fees and costs incurred as a result of the

18   C&C Lawsuit and had not contacted Mr. Ebell regarding coverage.

19   BWC again requested a                   copy of the applicable                  Zurich insurance
20
     policy, language, forms, and endorsements.
21
             10.        BWC sent another invoice,               for fees and costs incurred
22
     by Mr. Ebell in the C&C Lawsuit on May 14, 2013, and again asked
23
     to    be      provided          with    the    Zurich     ihsurance        policy        and   other
24

25
     documents.

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     C. Walter Ebell v. Zurich American Insurance Company
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 2   that     Zurich
 3
     "in touch as soon as [the] coverage evaluation [was] concluded."
 4
             12.     On May 20,          2013,    Mr. Ebell independently corresponded
 5
     with     Zurich    and        inquired       about      Zurich's     failure         to     pay    over
 6
     $90,000 in BWC fees and costs.
 7

 8
             13.     On June 5,          2013,    BWC emailed Zurich a copy                     o~    cross-

 9   claims        asserted    by        Old     Harbor      against     Mr. Ebell,            and     other

     parties.        BWC also provided Zurich with an invoice representing

     costs and fees incurred by Mr. Ebell through May 31, 2013.                                           At

     that point,       Mr. Ebell had personally remitted $25,939.47 to BWC

     for costs and fees incurred, but still owed BWC $97,793.78.                                         BWC

     again       requested         a    copy     of    the        insurance    policy          and     other

     documents.
16

17           14.     On June 7, 2013, BWC sent Mr. Ebell a letter.                                   At that

18   point,         Zurich     had         not        provided        Mr. Ebell           with        formal

19   acknowledgment           of       coverage,       an    agreement        to    defend       under     a
20
     reservation of rights,                and had not paid any fees                      and costs to
21
     BWC    on     behalf     of       Mr. Ebell.           BWC    explained       that    it     was    "no
22
     longer able to fully and properly defend" Mr. Ebell because of
23
     Zurich's "lack of action and response."                            BWC informed Mr. Ebell
24

25

26
     C. Walter Ebell v. Zurich American Insurance Company
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     COMPLAINT
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 1   that    it was
 2   which [it] believe[s] is in [his] best interest.u
 3
            15.      On    June        25,    2013,    Zurich       provided Mr. Ebell               with   a
 4
     letter that contained its coverage opinion,                               and provided a copy
 5
     of the letter to BWC.                     In the letter,         Zurich formally accepted
 6
     Mr. Ebell's tender of defense, subject to a complete reservation
 7

 8
     of     rights        "due     to        the   potential        applicability          of     several

 9   exclusions       and        the    apparent       failure      to       comply   with      reporting

     requirements"          of     the       Zurich   policy,       and      determined,        in    part,

     that     Mr. Ebell            was        insured     under          a     Zurich     Policy        No.

     MPL 5964912-04.              Zurich did not provide Mr. Ebell with a copy of

     the policy.

            16.      Zurich's coverage opinion also identified Old Harbor,

     Kodiak Kenai,          and Alaska Ocean as parties potentially entitled
16

17   to coverage under the same policy, all of whom are co-defendants

18   in the C&C Lawsuit.

19          17.      On June 26,              2013,   Zurich contacted BWC and requested
20
     that     BWC     provide            a     case    management            plan.        Zurich       also
21
     acknowledged          that        four    BWC    invoices      were       "pending      review     and
22
     payment."
23
                                                                I
            18.      On June 27, 2013, Zurich informed BWC that "no defense
24

25
     invoices will be paid" until Mr. Ebell and Old Harbor exhausted

26
     C. Walter Ebell v. Zurich American Insurance Company
     Case No. 3AN-13             CI
     COMPLAINT
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 1   the   policy      deductible,             and
 2
     coordinate payment of the deductible with [Old Harbor]."
 3
           19.   BWC    emailed          Zurich      on   June   27,    2013,    and explained
 4
     again that it served as Mr. Ebell's independent counsel and that
 5
     Zurich needed to communicate directly with Mr. Ebell regarding
 6
     coverage matters.
 7

 8
           20.   On June 27,         2013,       Zurich emailed Mr. Ebell and stated

 9   that the policy "is subject to a $35,000 deductible."

           21.   On    July   1,    2013,        Mr. Ebell       sent   a   letter to       Zurich

     regarding its      coverage opinion,                 provided Zurich with citations

     to    Alaska       law        and         other        information         regarding      the

     unreasonableness of Zurich's positions, and demanded that Zurich

     reimburse Mr. Ebell for BWC' s                  fees    and costs.         Zurich did not

     respond.
16

17                      COUNT I      -    BAD FAITH CLAIMS HANDLING

18         Plaintiff incorporates paragraphs 1 through 21 as if fully
19   set forth herein and further alleges as follows:
20
           22.   By    Zurich's          own    admission,       Mr. Ebell      is   an   insured
21
     under the applicable Zurich policy or policies.
22
           23.   Under Alaska law, Zurich owes Mr. Ebell a duty of good
23
     faith and fair dealing regarding its treatment of Mr. Ebell.
24

25

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     C. Walter Ebell v. Zurich American Insurance Company
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 1         24.    Zurich has breached the duties
 2   Alaska    law and the applicable insurance contract or contracts,
 3
     including, but not limited to:
 4
                  a.      Zurich repeatedly failed,            despite       several verbal
 5
     and   written      requests      from    Mr. Ebell,      and    BWC,     on   behalf    of
 6
     Mr. Ebell,    to provide a copy of the applicable Zurich policy or
 7

 8
     policies     at    issue,   in    violation     of AS 21.36.020,          AS 21.36.020

 9   and 3 AAC 26.060;

10                b.      Zurich failed        to provide prompt           and full     notice
11   of its intention to reserve its rights under the Zurich policy,
12
     thereby      preventing        Mr. Ebell        from     understanding           Zurich's
13
     position and taking the necessary steps to protect himself;
14
                  c.      Zurich      has    repeatedly     violated       3 AAC 26.040     and
15

     3 AAC 26.050; and
16

17                d.      Zurich      acted    in   bad   faith     by     valuing    its   own

18   interests over Mr. Ebell's,              by requiring Mr. Ebell to negotiate

19   with Old Harbor,       an insured and a defendant in the C&C Lawsuit,
20
     regarding the payment of the deductible,                     and by failing to pay
21
     the   fees   and    costs     incurred by Mr. Ebell            with    respect    to   the
22
     services provided by BWC.
23

24


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26
     C. Walter Ebell v. Zurich American Insurance Company
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     COMPLAINT
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      Case 3:13-cv-00200-RRB Document 1-1 Filed 10/10/13 Page 7 of 16
 2
     caused harm to Mr. Ebell and has failed to protect Mr. Ebell' s
 3
     interest in the C&C Lawsuit and as required by Alaska law.
 4
           26.    By      the      conduct       described       above,          Zurich      has
 5
     intentionally         and/or          recklessly      disregarded            Mr. Ebell's
 6
     interest,    and has valued its interests over Mr. Ebell's,                          and is
 7

 8
     liable for punitive damages.

 9                             COUNT II - COVERAGE BY ESTOPPEL

10         Plaintiff incorporates paragraphs 1 through 26 as if fully
11
     set forth herein and further alleges as follows:
12
           27.    By     the     conduct    described     above,        Zurich     failed     to
13
     promptly and fully inform Mr. Ebell about its opinion regarding
14
     coverage under the applicable insurance policy or policies.
15
           2 8.   By failing        to   provide Mr. Ebell         with    a   copy   of     the
16

17   applicable        Zurich    policy     or   policies,       Zurich     has    prevented

18   Mr. Ebell    from     understanding         his    rights    and     responsibilities

19   regarding coverage.
20
           29.    By the conduct described above,                Zurich has prejudiced




24

25
     under Alaska law from raising any coverage or policy defense.

26
     C. Walter Ebell v. Zurich American Insurance Company
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 1                    COUNT III -       BREACH OF THE DUTY TO DEFEND

 2         Plaintiff incorporates paragraphs 1 through 30 as if fully
 3
     set forth herein and further alleges as follows:
 4
           31.   The C&C Lawsuit alleges              facts    that,     if true,        entitle
 5
     Mr. Ebell     to       indemnity      from     Zurich     under        the     applicable
 6
     insurance policy or policies.
 7

 8
           32.   Mr. Ebell is entitled to a defense of the C&C Lawsuit.

 9         33.   By     the    conduct    described      above,      Zurich       has   breached

10   its duty to provide a defense.
11
           34.   As     a      result    of    Zurich's       conduct,       Mr. Ebell         has
12
     suffered damages in an amount to be proven at trial.
13
                                        PRAYER FOR RELIEF
14
           WHEREFORE, Mr. Ebell prays for relief as follows:
15
           1.    Entry        of   judgment    against      Zurich    for     damages     in    an
16

17   amount greater than $100,000, to be proven at trial;

18         2.    Entry of judgment against Zurich for punitive damages;

19         3.    Entry        of    judgment      against     Zurich        for    Mr. Ebell's
20
     costs, attorney's fees and interest;
21
           4.    Entry of judgment against Zurich,                   finding that Zurich
22
     is estopped from asserting any coveEage or policy defense; and
23

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26
     C. Walter Ebell v. Zurich American Insurance Company
     Case No. 3AN-13             CI
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     Case 3:13-cv-00200-RRB Document 1-1 Filed 10/10/13 Page 9 of 16
                        2   that this Court deems just and proper.
                        3
                                  DATED this   z_q fh   day of August 2013, at Anchorage, Alaska ..
                        4

                        5                                       At tor

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                                                                By:
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                            C. Walter Ebell v. Zurich American Insurance Company
                            Case No. 3AN-13 ______________ CI
                            COMPLAINT
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                                     THIRD JUDICIAL DISTRICT AT
           3

           4

           5    C. WALTER EBELL,

           6                         Plaintiff,
           7    vs.
           8
                ZURICH AMERICAN INSURANCE,
           9    COMPANY,

           10                        Defendant.
                                                              Case No. 3AN-13-V;l:J CI
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                                              ENTRY OF APPEARANCE
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  0        14         The law firm of Dillon            &   Findley,   P. C.    hereby enters its
  ";'
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·r:::-     15   appearance on behalf of plaintiff in the above-captioned case.
  0
  ~

  ~        16   All   future   pleadings      and    documents    should        be    served   on   the
           17
                undersigned     at    1049   W.   5th   Avenue,   Suite        200,   Anchorage,    AK
           18
                99501.
           19

           20
                      DATED this      ~f~ay       of August 2013, at Anchorage, Alaska.

           21

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                                                       )
      C. Walter Ebell,                                 )
                                  Plaintiff(s),        )
vs.                                                    )
                                                       )
                                                       )   CASE NO. 3AN- 13-         q/23       CT
      Zurich American Insurance CO.,)
                                      )                                 SUMMONS AND
____________________________)
                        Defendant(s). )                            NOTICE TO BOTH PARTIES
                                                                   OF JUDICIAL ASSIGNMENT
To Defendant: Zurich American Insurance co.
You are hereby summoned and required to file with the court a written answer to the complaint
which accompanies this summons. Your answer must be filed with the court at 825 W. 4th Ave.,
Anchorage, Alaska 99501 within 20 days* after the day you receive this summons. In addition,
a copy of your answer must be sent to the plaintiff's attorney or plaintiff (if unrepresented)
   Ray R. Brown                           , whose address is: Di 11 on & Findley, p. G.
   1049 W. 5th Ave., Suite 200, Anchorage, AK 9950l

If you fail to file your answer within the required time, a default judgment may be entered
against you for the relief demanded in the complaint.

If you are not represented by an attorney, you must inform the court and all other parties in this
case, in writing, of your current mailing address and any future changes to your mailing address
and telephone number. You may use court form Notice of Change of Address I Telephone
Number (TF-955), available at the clerk's office or on the court system's website at
www.courts.alaska.gov/forms.htm, to inform the court. - OR - If you have an attorney, the
attorney must comply with Alaska R. Civ. P. 5(i).

                               NOTICE OF JUDICIAL ASSIGNMENT
TO: Plaintiff and Defendant
You are hereby given notice that:
~ This case has been assigned to Superior Court Judge _£.::::.--~_rh:.-
                                                                 __1_ _ _ _ _ _ _ __
     and Master
                     ------------------------
0      This case has been assigned to District Court J u d g e - - - - - - - - - - - - - -
                                                        CLERK OF COURT


                                                             By:   I   A-~~
              Date                                                            Deputy Clerk


                oef /1'3
I certify that on                a copy ofthis Summons was        0 mailed   )?{given to
0 plaintiff           plaintiff's counsel along with a copy of the
0 Domestic Re ations Procedural Order 0 Civil Pre-Trial Order
to serve on the defendant with the summons_
Deputy Clerk --LitP¥'----
* The State or a state officer or agency named as a defendant has 40 days to file its answer. If
you have been served with this summons outside the United States, you also have 40 days to file
your answer.
CIV-100 ANCH
     Case    (6/10)(st.3)
           3:13-cv-00200-RRB        Document 1-1 Filed 10/10/13 PageCivil Rules
                                                                           13 4,of5,1612, 42(c), 55
SUMMONS
                              1

                              2

                              3

                              4

                              5       C. WALTER EBELL,                           )
                                                                                 )
                              6                            Plaintiff,            )
                                                                                 )
                              7      vs.                                         )
                                                                                 )
                              8
                                      ZURICH AMERICAN INSURANCE,                 )

                              9       COMPANY,                                   )
                                                                                 )
                              10                           Defendant.            )
                                     _____________________________ )                    Case No. 3AN-13-9123 CI
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  [.J;.l 0              '
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  @c.>::"'~t=::'                                        RULE 4(f) PROOF OF SERVICE AFFIDAVIT
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                                     THIRD JUDICIAL DISTRICT
  0~                 ~
                     ~        16            I, Lisa Kusmider, being first duly sworn, state as follows:
                              17
                                            1.     That I am employed by the law firm of Dillon & Findley,
                              18
                                      P.C., counsel for Plaintiff.
                              19
                                            2.     I hereby certify that I              caused a true and correct copy
                              20
                                     of the      Summons,    Complaint,    Entry of Appearance,          and Demand for
                              21

                              22     Jury    Trial    to    be   served    by        U.S.   mail,   restricted   delivery,

                              23      certified return receipt upon Defendant Zurich American Insurance

                              24      Company, c/o Bret S. Kolb, Director, Alaska Division of Insurance,
                              25

                              26

                                      C. Walter Ebell v. Zurich American Insurance Co.
                                      Case No. 3AN-13-9123 CI
                                      RULE 4(f) PROOF OF SERVICE AFFIDAVIT

               D                      Page 1 of 2
                                   Case 3:13-cv-00200-RRB Document 1-1 Filed 10/10/13 Page 14 of 16
                              1    P.O.    Box   110805,   Juneau,   Alaska,   99811-0805,    on    September   11

                              2    2013.     See Exhibit A (U.S. Post Office Domestic Return Receipt).
                              3            FURTHER YOUR AFFIANT SAYETH NAUGHT.
                              4
                                           DATED this 17th day of September 2013.
                              5

                              6
                                                                        Lisa Kusmider
                              7

                              8

                              9
                                        SUBSCRIBED AND SWORN TO before me this 17th day of S
                                   2013, at Anchorage, Alaska.
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                                   C. Walter Ebell v. Zurich American Insurance Co.
                                   Case No. 3AN-13-9123 CI
                                   RULE 4(£) PROOF OF SERVICE AFFIDAVIT
                              Case Page
                                   3:13-cv-00200-RRB
                                        2 of 2        Document 1-1 Filed 10/10/13 Page   15 of 16
  i PS Forrri 3811, February 2004   Domestic Return Receipt     102595-02-M-1540




                                                              EXHJBrr__..A~
                                                              Page~~_l_.
Case 3:13-cv-00200-RRB Document 1-1 Filed 10/10/13 Page 16 of 16
